     Case 4:18-cv-02869 Document 129 Filed on 03/26/20 in TXSD Page 1 of 5



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS

JOHN HANCOCK LIFE INSURANCE                         )
COMPANY (U.S.A.) f/k/a John Hancock                 )
Life Insurance Company                              )
                                                    )
                              Plaintiff,            )
                                                    )
       v.                                           )       Case No. 4:18-CV-02869
                                                    )
THE ESTATE OF JENNIFER LAUREN                       )
WHEATLEY, et al.                                    )
                                                    )
                              Defendants.           )

                      RESPONSE IN OPPOSITION TO PLAINTIFF’S
                      MOTION TO MODIFY SCHEDULING ORDER

       Plaintiff John Hancock Life Insurance Company (U.S.A.) f/k/a John Hancock Life

Insurance Company (“John Hancock”) opposes Defendant the Estate of Jennifer Lauren

Wheatley’s (the “Wheatley Estate”) Motion to Modify Scheduling Order (the “Motion”) (ECF

122). The Wheatley Estate has not shown good cause for the amendment of the scheduling order

as it pertains to discovery that should have been served months ago. Further, as to discovery that

is directed to claims that are not part of the lawsuit, the Wheatley Estate’s Motion is premature.

Accordingly, the Wheatley’s Estate’s Motion should be denied.

                                           ARGUMENT

       District court judges are obligated to use scheduling orders to manage and ensure a

speedy resolution of their cases, and “adherence to reasonable deadlines is . . . critical to

maintaining integrity in court proceedings.” Ebel v. Eli Lilly and Co., 248 F.R.D. 208, 208 (S.D.

Tex. 2007) (internal quotation omitted). Pursuant to Rule 16(b)(4), a scheduling order may only

be modified with good cause and with the consent of the court. Fed.R.Civ.P. 16(b)(4). Good

cause for amending a scheduling order exists only where the party seeking to extend a deadline


                                                1
     Case 4:18-cv-02869 Document 129 Filed on 03/26/20 in TXSD Page 2 of 5



shows that it could not have reasonably met the deadlines despite the party’s own diligence.

Hernandez v. Mario’s Auto Sales, Inc., 617 F. Supp. 2d 488, 492 (S.D. Tex. 2009). The Court

has “the inherent power to control its own docket to ensure that cases proceed before it in a

timely and orderly fashion.” Id. at 493 (internal quotation omitted).

          A.     No Good Cause Exists to Amend the Scheduling Order to Allow Discovery
                 Regarding the Wheatley Estate’s Existing Counterclaims.

          The Wheatley Estate attempts to show good cause for failing to serve its third set of

discovery requests (“Third Requests”) until months after discovery closed because John Hancock

was, for a time, abated from the proceedings. The temporary abatement of John Hancock does

not provide good cause for the Wheatley Estate’s delay in serving its Third Requests when, in

fact, the Wheatley Estate did serve discovery requests after the abatement. John Hancock was

abated from the proceedings on March 14, 2019, and on June 24, 2019, the Wheatley Estate

served its second set of discovery on John Hancock. It was not until November 13, 2019 that the

Court reinstated the counterclaims against John Hancock, thus ending the abatement of John

Hancock from the case. The Wheatley Estate’s assertion that it did not serve its Third Requests

because John Hancock was abated is disingenuous, given that it did in fact serve discovery

during this period. This purported explanation does not amount to good cause for an amendment

of the scheduling order as to the discovery completion deadline.

          Further, to the extent the Third Requests relate to the Wheatley Estate’s claims of breach

of contract or negligence pro se, which were asserted by the Wheatley Estate on October 12,

2018, the Wheatley Estate could have, and indeed should have, served discovery requests related

to these counterclaims and requested a corporate representative deposition well before January

2020‒‒over a year after it filed its counterclaims and more than six months after discovery

closed.


                                                  2
     Case 4:18-cv-02869 Document 129 Filed on 03/26/20 in TXSD Page 3 of 5



          Finally, after the Court reinstated the Wheatley Estate’s counterclaims on November 13,

2019, the Court sua sponte amended the scheduling order as to two dates‒‒the dispositive

motion date and the trial date. The Wheatley Estate did not request that the Court amend any

further deadlines, nor did the Court choose to do so on its own. The Wheatley Estate has

provided no good cause for an amendment of the scheduling order and its Motion should be

denied.

          B.     As to Discovery That is Directed to Counterclaims That are Not Yet Part of
                 This Lawsuit, the Wheatley Estate’s Motion is Premature.

          Discovery can be had of any matter that is relevant to a party’s claim. Fed. R. Civ. P.

26(b)(1). The Wheatley Estate’s Third Requests are, according to the Wheatley Estate, partly

directed to claims that are not part of this matter. While the Wheatley Estate has filed a motion

for leave to add additional counterclaims (“Motion for Leave”) (ECF 106), the Court has not yet

ruled on its Motion for Leave. Discovery relating to claims that are not part of the lawsuit is

irrelevant and improper. John Hancock should not be required to incur the time and expense in

responding to discovery requests that are related to counterclaims that are not part of the lawsuit.

          C.     The Wheatley Estate’s Present Motion Cannot Be Used to Assert Additional
                 Arguments in Support of its Previously Filed and Fully Briefed Motion for
                 Leave.

          The Wheatley Estate has inappropriately used its present Motion to assert additional, new

arguments in support of its Motion for Leave. The Wheatley Estate’s Motion for Leave has been

fully briefed by the parties. It is untimely and, frankly, improper for the Wheatley Estate to use

its present Motion to assert new arguments in support of its Motion for Leave. Further, the

Court’s ruling on the Wheatley Estate’s Motion for Leave does not automatically govern the

Court’s decision whether to amend the scheduling order by re-opening discovery. The Wheatley

Estate’s use of the present Motion to argue in support of its fully-briefed Motion for Leave is


                                                  3
     Case 4:18-cv-02869 Document 129 Filed on 03/26/20 in TXSD Page 4 of 5



misplaced.

                                       CONCLUSION

       Should the Court chose to amend the scheduling order and allow additional discovery,

John Hancock requests the Court order the parties to participate in mediation prior to requiring

John Hancock to respond to the Third Discovery Requests and appear for a 30(b)(6) deposition.

Further, should the Court grant the Wheatley Estate leave to amend its counterclaims and amend

the scheduling order, John Hancock requests that the discovery deadline be amended only as it

relates to discovery concerning new counterclaims. The Court should not amend the discovery

deadline to include discovery related to previously asserted counterclaims, which should have

been conducted months ago prior to the discovery completion deadline.



Dated: March 26, 2020

                                            Respectfully submitted,

                                            BRYAN CAVE LEIGHTON PAISNER LLP


                                            By: /s/ Gregory J. Sachnik
                                                Gregory J. Sachnik
                                                Texas Bar No. 17503800
                                                S.D. Texas No. 9757
                                                2200 Ross Avenue, Suite 3300
                                                Dallas, Texas 75201
                                                (214) 721.8000 – Telephone
                                                (214) 721.8100 – Fax
                                                E-Mail: Gregory.sachnik@bclplaw.com




                                               4
     Case 4:18-cv-02869 Document 129 Filed on 03/26/20 in TXSD Page 5 of 5



                                                  Admitted Pro Hac Vice:

                                                  Jennifer L. Berhorst
                                                  Missouri Bar No. 61784
                                                  1200 Main Street, Suite 3800
                                                  Kansas City, MO 64105-2100
                                                  Telephone: (816) 374-3200
                                                  Facsimile: (816) 374-3300
                                                  jennifer.berhorst@bclplaw.com

                                                  Attorneys for Plaintiff John Hancock Life
                                                  Insurance Company (U.S.A.)




                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on March 26, 2020, the foregoing was served upon
all counsel of record through CM/ECF filing system.

                                                    /s/ Gregory J. Sachnik
                                                    Attorney for Plaintiff




                                              5
